                     Case 3:22-cv-03580-WHO Document 164-4 Filed 01/09/23 Page 1 of 2


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           15
                                              UNITED STATES DISTRICT COURT
           16
                                             NORTHERN DISTRICT OF CALIFORNIA
           17
                 IN RE META PIXEL HEALTHCARE                     Case No. 3:22-cv-3580-WHO
           18    LITIGATION,
                                                                 [PROPOSED] ORDER
           19
                                                                 CLASS ACTION
           20
                 This Document Relates To:
           21
                 All Actions
           22

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Gibson, Dunn &
Crutcher LLP
                                                       [PROPOSED] ORDER
                                                    CASE NO. 3:22-CV-3580-WHO
         Case 3:22-cv-03580-WHO Document 164-4 Filed 01/09/23 Page 2 of 2


 1            On January 9, 2023, Defendant Meta Platforms, Inc. filed an Administrative Motion to Consider

 2   Whether Cases Should Be Related pursuant to Civil Local Rules 3-12 and 7-11, and this Court’s

 3   October 12, 2022 Order. The Court, having considered the papers and pleadings on file, and good

 4   cause appearing, HEREBY GRANTS the motion.

 5            IT IS ORDERED that John Doe & Jane Doe v. Meta Platforms, Inc., Case No. 3:22-cv-07557-

 6   SI, and Katrina Calderon, et al. v. Meta Platforms, Inc., Case No. 5:22-cv-09149-VKD (the “Financial

 7   Data Cases”), are related to In re Meta Pixel Healthcare Litigation, Case No. 3:22-cv-03580-WHO.

 8   These actions concern substantially the same parties, property, transactions, or events, and it appears

 9   likely that there will be an unduly burdensome duplication of labor and expense or conflicting results

10   if the cases are conducted before different judges. The Financial Data Cases shall be reassigned to the

11   undersigned judge pursuant to Local Rule 3-12. Unless a party objects to consolidation within fourteen

12   days of this Order, the Financial Data Cases shall be consolidated with In re Meta Pixel Healthcare

13   Litigation for the limited purposes of discovery.

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16   Dated:
                                                               Hon. William H. Orrick
17                                                             United States District Judge
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                                              [PROPOSED] ORDER
                                           CASE NO. 3:22-CV-3580-WHO
